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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

  PROLITEC INC.,

                 Plaintiff/Counterclaim-
                 Defendant,
                                                             C.A. No. 20-984-WCB
            v.

  SCENTAIR TECHNOLOGIES, LLC,

                 Defendant/Counterclaim-
                 Plaintiff.


                            STIPULATION AND ORDER
                      REGARDING EXCEPTIONAL CASE BRIEFING

       WHEREAS, on March 21, 2024, the Court issued a Memorandum Opinion and Order

(the “Opinion”) granting ScentAir Technologies, LLC’s (“ScentAir’s”) motion for the entry of

Rule 54(b) judgment (D.I. 322); and

       WHEREAS, by the same Order, the Court denied ScentAir’s motion to stay the deadline

for party appeals pending the filing of a motion for attorneys’ fees pursuant to Rule 58(e) (id.);

and

       WHEREAS, following that Order, the deadline to file any exceptional case motion would

be 14 days from the entry of the Rule 54(b) judgment dated March 21, 2024 (D.I. 323) (the

“Judgment”), or on April 4, 2024; and

       WHEREAS, the Court indicated in its Opinion that it should evaluate a section 285

motion as a “holistic determination[ ] based on the entire history of the case, [and] will postpone

addressing the attorney fee issue until after the entire case is resolved” (D.I. 322 at 12 & n.5);

and
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        WHEREAS, while the Opinion makes clear that it will not entertain a section 285 motion

at this time, the Opinion does not affirmatively state that a party need not file a section 285

motion in order to preserve its rights to bring its motion at the end of ScentAir’s affirmative case;

and

        WHEREAS, the parties have conferred and agree, subject to the approval of the Court,

that:

        1. For good cause shown, pursuant to Rule 16(a)(3)(B)(vii) and (B)(4), the deadline to

           file an exceptional case motion is hereby set concurrently with the post-trial briefing

           deadline to be determined at the close of ScentAir’s affirmative patent infringement

           case.

        2. Neither party waives any rights by virtue of the parties’ agreement to this schedule.

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IT IS SO ORDERED this 26th day of March, 2024.


                                                 __________________________
                                                 WILLIAM C. BRYSON
                                                 UNITED STATES CIRCUIT JUDGE




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